        Case 8:04-cr-00563-SDM-TGW Document 134 Filed 05/18/05 Page 1 of 6 PageID 218
A0 245B (Rev 12/03) Sheer 1 - Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DIVISION


UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE

                                                              CASE NUMBER: 8:04-cr-563-T-23MAP
                                                              USM NUMBER: 42467-018
VS.



ELIAS BARRIOS DELAROSA
                                                              Defendant's Attorney: Roland I-Iermida, cja

THE DEFENDANT:

X pleaded guilty to counts ONE and TWO of the Indictment.
-

TITLE & SECTION                             NATURE OF OFFENSE                            OFFENSE ENDED             COUNT

46 Appendix U.S.C. $4 1903(a),              Possession With Intent to Distribute 5     November 13, 2004           ONE
and 1903(g), 18 U.S.C. § 2: and             Kilograms or More of Cocaine While
21 U.S.C. 960(b)(l)(B)(ii)                  Aboard Vessels Subject to the Jurisdiction
                                            of the United States

46 Appendix U.S.C. $5 1903(a),              Conspiracy to Possess With intent to      November 13, 2004            TWO
1903(g), and 1903u); and 21 U.S.C.          Distribute 5 Kilograms or More of Cocaine
5 960(b)(l )(B)(ii)                         While Aboard Vessels Subject to the
                                            Jurisdiction of the United States



        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                Date of Imposition of Sentence: May 10, 2005




                                                                                    STEVEN D. MERRYDAY
                                                                                                                           I
                                                                                UNITED STATES DISTRICT JUDGE

                                                                                DATE: May      1   6Gi 2005
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A 0 245B (Rev 12103) Sheet 2 - Imprisonment
Defendant :      ELIAS BARRIOS DELAROSA                                                                    Judgment - Page 1of 6
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                                                             IMPRISONMENT

                 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of ONE HUNDRED TIIIRTY-FIVE (135) MONTHS as to counts one and two of the Indictment,
both ternis to run concurrently.




X The court makes the following recorn~ncndationsto the Bureau of Prisons: that the defendant be placed in either FCI
Coleman. Florida or FCI Fort Dix. New Jersey.



     The defendant is remanded to the custody of the United States Marshal.
-The defendant shall surrender to rhe United States Marshal for thii district.

          - at - a.rn.1p.m. on -.
          - as notified by h e United States Marshal.
- The defendant shall surrender for service of seotence at the institution designated by the Bureau of Prisons.

          - belbre 2 p.m. on -.
            - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.



                                                                    RETURN

            I have executed this judgment as follows:




            Defendant delivered on                                               to

at                                                                        , with a certified copy of this judgment.



                                                                                         United States Marshal


                                                                        Deputy Marshal
        Case 8:04-cr-00563-SDM-TGW Document 134 Filed 05/18/05 Page 3 of 6 PageID 220
A 0 24jB (Rev. 12/03) Shcet 3 - Supervised Release

Defendant:           ELIAS BARRIOS DELAROSA                                                                   Judgment - Page 3 of 6
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                                                          SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of SIXTY (60) MONTHS as to
counts one and two, both terms to r u n concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal. state, or local crime. and shall not possess a
firearm, ammunition, or destructive device as delined in 18 U.S.C. $ 921.

         The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation oftker's de~erminationthat additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

         The defendant shall cooperate in the collection of DNA as directed by the probation ofticer.

             If this judgment imposes a f i e or a restitution it is a condition of supervised release that the defendant pay in accordance
             with the Schedule of Payments sheet of this judgment.

             The defendant shall conlply with the standard conditions that have been adopted by this court as well as with any additional
             conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
             the defendant shall not lcave the judicial district without the pernlission of the court or probation officer;
             the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
             of each month;
             the defendant shall answer truthfirlly all inquiries by thc probation officer and follow the instructions of the probation officer;
             the defendant shall support his or her dependents and meet other family responsibilities:

             the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training. or other
             acceptable reasons;
             the dcfcndant shall notify the probation officer at least ten days prior to any change in residence or employment;
             the defcndant shall refrain from exccssivc use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia rclated to any controlled substances, except as prescribcd by a physician:
             the defendant shall not frequent placcs where controlled substances arc illegaily sold, used, distributed. or administered;
             the defendant shall not associate with any pcrsons engaged in criminal activity and shall not associate with any person convicted
             of a felony, unless granted permission to do so by the probation officer:

             thc defendant shall pernit a probation officer to visit him or hcr at any time at homc or elsewhere and shall permit confiscation of
             any contraband observed in plain view of the probation officer:
             the defcndant shall notify the probation officer within seventy-two hours of being arrested or qucstioned by a law enforcement
             officer;
             the dcfcndant shall not enter into any agrccment to act as an informer or a spccial agent of a law enforccmcnt agcncy without the
             permission of the court;
             as dirccted by the probation officer, the defendant shall notify third parties ofrisks that may bc occasioned by the defendant's criminal
             record or pcrsonal history or characteristics and shall permit the probation of3icer to make such notifications and to confirm the
             dcfcndant's compliance with such notification requirement.
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A 0 24SB (Rev. 12103) Sheet 3C - Supervised Release

Defendant:        ELIAS BARRIOS DELAROSA                                                              Judgment - Page 4 of 6
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                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with lhe following additional conditions of supervised release:


X        If the defendant is deported, he shall not re-enter the United States without the express permission of the appropriate
         governmental authority.
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 A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties
 Defendant:          ELIAS BARRIOS DELAROSA                                                            Judgment - Page 5 of 6
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                                          CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                          -
                                                                 Fine                          Total Restitution

          Totals:            $200.00                             $ waived                      $


 -        The determination of restitution is deferred until -.               An Amended Jitdgmenr ir?a Crinrinal Case ( A 0 245C) will
          be entered after such determination.
 -        The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C. 5
                                                                          d
          3664(1), all non-federal victims must be paid before the mted States.
                                                                                                               Priority Order or
                                                 *Total                          Amount of                     Percentage of
 Name of Pavee                                 Amount of Loss                 Restitution Ordercd              Pavment




                             Totals:          Ii-                             L

 -        Restitution amount ordered pursuant to plea agreement S
 -        The defendant shall pay interest on any fine or restitution of more than $2,500. unless the restitution or f i e is paid in full
          before the fifteenth day after the date of the judgment, ursuant to 18 U.S.C. § 3612(0. All of the payment options on Sheet
          6 may be subject to penalties for delinquency and deiult, pursuant to 18 U.S.C. 8 361Z(g).
 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -          the interest requirement is waived for the - fine         - restitution.
         -          the interest requirement for the - fine - restitution is modified as follows:


  Findings for the total amount of losses are required under Cha ters 109A, 1 10, 1 IOA, and 113A of Title 18 for the offenses
+



                                                                     d'
cornrnirted on or after September 13, 1994. but before April 23. 1 96.
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A 0 245B (Rev 12/03)Sheet 6 - Schedule of Payrnents

Defendant:        ELlAS BARRIOS DELAROSA                                                             Judgment - Page 6of 6
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                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       -
         X Lump sum payment of $ 200.00 due immediately. balance due
                            -not later than                    , Or

                            -in accordance - C , - D. - E or - F below; or
B.       -        Payment to begin immediately (may be combined with -C, -D. or -F below); or
C.       -        Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $             over a
                  period of          (e.g ., months or years), to commence              days (e.g.. 30 or 60 days) after the
                  date of this judgment; or
D.       -        Payment in equal                      weekly. monthly, quarterly) installments of $             over a
                  period of             , (e.g., mon  s or years) to commence
                                                  "-tk7                                        (e.g. 30 or 60 days) afier
                  release from imprisonment to a term of supervision; or
E.       -        Payment during the term of supervised release will conmence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud ment imposes a period of                                       of criminal
        TI                              F                             9
moneta penalties is due during i ~ nrisonment. All crimina monetary penalties,
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made
                                                                                                                       made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount. and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied i n the following order: (1) assessment, (2) restitution principal, (3) restitulion interest, (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
